








	



				



NUMBER 13-09-00038-CR


				

COURT OF APPEALS


			

THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


                                                                                                                       


RAMIRO MARTINEZ ESPINOZA,	 Appellant,


v.



THE STATE OF TEXAS,                                                               Appellee.

                                                                                                                       


On appeal from the 377th District Court


 of Victoria County, Texas.


                                                                                                                       


MEMORANDUM OPINION



Before Justices Rodriguez, Benavides, and Vela


Memorandum Opinion by Justice Benavides



	Appellant, Ramiro Martinez Espinoza, was indicted on two counts of aggravated
sexual assault of a child.  See Tex. Penal Code Ann. § 22.021(a)(2)(B) (Vernon Supp.
2009). (1)  He was found not guilty on count 1 and guilty on count 2.  He was sentenced to
fifty years' imprisonment in the Texas Department of Criminal Justice--Institutional
Division.

	Espinoza's appellate counsel, concluding  that "there are no arguable grounds to
be advanced on appeal," filed an Anders brief in which he reviewed the merits, or lack
thereof, of the appeal.   We affirm.

I.  Discussion


	Pursuant to Anders v. California, 386 U.S. 738, 744 (1967), appellant's
court-appointed appellate counsel has filed a brief with this Court, stating that his review
of the record yielded no grounds or error upon which an appeal can be predicated. 
Although counsel's brief does not advance any arguable grounds of error, it does present
a professional evaluation of the record demonstrating why there are no arguable grounds
to be advanced on appeal.  See In re Schulman, 252 S.W.3d 403, 407 n.9 (Tex. Crim.
App. 2008) ("In Texas, an Anders brief need not specifically advance 'arguable' points of
error if counsel finds none, but it must provide record references to the facts and
procedural history and set out pertinent legal authorities.") (citing Hawkins v. State, 112
S.W.3d 340, 343-44 (Tex. App.-Corpus Christi 2003, no pet.)); Stafford v. State, 813
S.W.2d 503, 510 n.3 (Tex. Crim. App. 1991).  

	In compliance with High v. State, 573 S.W.2d 807, 813 (Tex. Crim. App. [Panel Op.]
1978), appellant's counsel has carefully discussed why, under controlling authority, there
are no errors in the trial court's judgment.  Counsel has informed this Court that he has: 
(1) examined the record and found no arguable grounds to advance on appeal; (2) served
a copy of the brief and counsel's motion to withdraw on appellant; and (3) informed
appellant of his right to review the record and to file a pro se response within thirty days. (2) 
See Anders, 386 U.S. at 744; Stafford, 813 S.W.2d at 510 n.3; see also In re Schulman,
252 S.W.3d at 409 n.23.  A sufficient time has passed, and Espinoza has not filed a pro
se response. 

II. Independent Review


	Upon receiving an Anders brief, we must conduct a full examination of all the
proceedings to determine whether the case is wholly frivolous.  Penson v. Ohio, 488 U.S.
75, 80 (1988).  We have reviewed the entire record, counsel's brief and have found nothing
that would arguably support an appeal.  See Bledsoe v. State, 178 S.W.3d 824, 826-28
(Tex. Crim. App. 2005) ("Due to the nature of Anders briefs, by indicating in the opinion
that it considered the issues raised in the briefs and reviewed the record for reversible error
but found none, the court of appeals met the requirement of Texas Rule of Appellate
Procedure 47.1."); Stafford, 813 S.W.2d at 509.  Accordingly, we affirm the judgment of the
trial court.

III. Motion to Withdraw


	In accordance with Anders, appellant's attorney has asked this Court for permission
to withdraw as counsel for appellant.  See Anders, 386 U.S. at 744; see also In re
Schulman, 252 S.W.3d at 408 n.17 (citing Jeffery v. State, 903 S.W.2d 776, 779-80 (Tex.
App.-Dallas 1995, no pet.) (noting that "[i]f an attorney believes the appeal is frivolous, he
must withdraw from representing the appellant.  To withdraw from representation, the
appointed attorney must file a motion to withdraw accompanied by a brief showing the
appellate court that the appeal is frivolous.") (citations omitted)).  We grant counsel's
motion to withdraw.  Within five days of the date of this Court's opinion, counsel is ordered
to send a copy of the opinion and judgment to appellant and to advise appellant of his right
to file a petition for discretionary review. (3)  See Tex. R. App. P. 48.4; see also In re
Schulman, 252 S.W.3d at 412 n.35; Ex parte Owens, 206 S.W.3d 670, 673 (Tex. Crim.
App. 2006). 


								__________________________

								GINA M. BENAVIDES,

								Justice



Do not publish.

See Tex. R. App. P. 47.2(b).


Delivered and filed the

8th day of July, 2010.



1.  In count 1, Espinoza was charged with penetration of the anus of a child on or about the 19th day
of January 2008.  In count 2, he was charged with penetration of the sexual organ of the same child on or
about the 19th day of January 2008.
2.  The Texas Court of Criminal Appeals has held that "the pro se response need not comply with the
rules of appellate procedure in order to be considered.  Rather, the response should identify for the court
those issues which the indigent appellant believes the court should consider in deciding whether the case
presents any meritorious issues."  In re Schulman, 252 S.W.3d 403, 409 n.23 (Tex. Crim. App. 2008) (quoting
Wilson v. State, 955 S.W.2d 693, 696-97 (Tex. App.-Waco 1997, no pet.)).
3.  No substitute counsel will be appointed.  Should appellant wish to seek further review of this case
by the Texas Court of Criminal Appeals, he must either retain an attorney to file a petition for discretionary
review or file a pro se petition for discretionary review.  Any petition for discretionary review must be filed within
thirty days from the date of either this opinion or the last timely motion for rehearing that was overruled by this
Court.  See Tex. R. App. P. 68.2.  Any petition for discretionary review must be filed with this Court, after which
it will be forwarded to the Texas Court of Criminal Appeals.  See Tex. R. App. P. 68.3; 68.7.  Any petition for
discretionary review should comply with the requirements of Rule 68.4 of the Texas Rules of Appellate
Procedure.  See Tex. R. App. P. 68.4.

